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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS

IN RE:                                              §
                                                    §          Case No: 22-31780-swe13
GEORGE DALE WIGINGTON                               §          Chapter No: 13
                                                    §


                     AGREED MOTION TO RESET DOCKET CALL DATE

TO THE HONORABLE U.S. BANKRUPTCY COURT:

           COMES NOW GEORGE DALE WIGINGTON (“Debtor”) who files this Agreed

Motion to Reset Docket Call date and, for cause shown below, requests that the Court grant this

motion.

                                           BACKGROUND

1.         A scheduling order for this case was entered on January 30, 2024 setting a Docket Call

date of June 24, 2024 which required discovery to be completed by May 10, 2024.

2.         On May 28, 2024, the Court reset the Docket Call to July 29, 2024 upon request of both

parties.

3.         An agreed order with signatures of the parties will be uploaded with this motion.


                       REQUEST FOR RESET OF DOCKET CALL DATE

4.         Based upon the agreement of the parties, Debtor requests the Court to reset the Docket

Call date to September 30, 2024 or the first available date thereafter.


Dated: July 17, 2024

                                                               /s/ George Dale Wigington_
                                                               George Dale Wigington
                                                               Pro Se
                                                               State Bar No.: 24091665
                                                               Dalewig10@verizon.net
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                                                              2451 Elm Grove Road
                                                              Wylie, TX 75098
                                                              469-235-1482




                                 CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing has been served upon the parties in
interest on the attached mailing list on July 17, 2024 by mailing a copy of same to them via first
class mail or through the court’s CM/ECF electronic mail (Email) system on the date below..

                                                              /s/ George Dale Wigington
                                                              George Dale Wigington


Tricia Ann Morra
Attorney for NewRez LLC d/b/a Shellpoint Mortgage Servicing
as servicer for US Bank Trust National Association, Not In Its
Individual Capacity But Solely As Owner Trustee for VRMTG
Asset Trust
tmorra@raslg.com




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